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10                       UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11                         SAN FERNANDO VALLEY DIVISION
12   In re                                 Case No. 1:24-bk-10646-MB
13
     SYNAPSE FINANCIAL TECHNOLOGIES, Chapter 11
14   INC.,
                                     CHAPTER 11 TRUSTEE’S TENTH
15                                   STATUS REPORT
             Debtor.
16                                         DATE: September 27, 2024
                                           TIME: 10:00 a.m. PT
17                                         PLACE: 303
                                           21041 Burbank Boulevard
18
                                           Woodland Hills, CA 91367 and
19                                         Via ZoomGov

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1            TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY JUDGE,

2    THE OFFICE OF THE UNITED STATES TRUSTEE AND INTERESTED PARTIES:

3            I, Jelena McWilliams (the “Trustee”), the duly appointed, qualified and acting chapter 11

4    trustee for the estate of Debtor Synapse Financial Technologies, Inc. (“Synapse” or the “Debtor”),

5    hereby submit my tenth “Chapter 11 Trustee’s Status Report” (the “Report”) and represent as follows:

6                                                       I.

7                                          TIMELINE OF EVENTS

8            A.      Filing of the Chapter 11 Case and Appointment of Chapter 11 Trustee

9            On April 22, 2024, the Debtor filed a voluntary chapter 11 petition, schedules and statement
10   of financial affairs.
11           On May 24, 2024, following a hearing, the Court entered an order appointing a chapter 11
12   trustee (the “Appointment Order”), and Jelena McWilliams was appointed by the U.S. Trustee as the
13   Chapter 11 Trustee in this Chapter 11 Case (the “Case”). [Dkt. No. 196].
14           On June 6, 2024, the Trustee filed the “Chapter 11 Trustee’s Initial Status Report” (the “Initial
15   Report”), and, on June 7, 2024, the Trustee presented the Initial Report at a Status Conference before
16   the Court. On June 13, 2024, the Trustee filed the “Chapter 11 Trustee’s Second Status Report” (the
17   “Second Report”), and, on June 14, 2024, the Trustee presented the Second Report at a Status
18   Conference before the Court. On June 20, 2024, the Trustee filed the “Chapter 11 Trustee’s Third
19   Status Report” (the “Third Report”), and, on June 21, 2024, the Trustee presented the Third Report at
20   a Status Conference before the Court. On July 2, 2024, the Trustee filed the “Chapter 11 Trustee’s
21   Fourth Status Report” (the “Fourth Report”), and, on July 3, 2024, the Trustee presented the Fourth
22   Report at a Status Conference before the Court. On July 16, 2024, the Trustee filed the “Chapter 11
23   Trustee’s Fifth Status Report” (the “Fifth Report”), and, on July 17, 2024, the Trustee presented the
24   Fifth Report at a Status Conference before the Court. On July 31, 2024, the Trustee filed the “Chapter
25   11 Trustee’s Sixth Status Report” (the “Sixth Report”), and, on August 1, 2024, the Trustee presented
26   the Sixth Report at a Status Conference before the Court. On August 13, 2024, the Trustee filed the
27   “Chapter 11 Trustee’s Seventh Status Report” (the “Seventh Report”), and, on August 14, 2024, the
28   Trustee presented the Seventh Report at a Status Conference before the Court. On August 29, 2024,


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1    the Trustee filed the “Chapter 11 Trustee’s Eighth Status Report” (the “Eighth Report”), and, on

2    August 30, 2024, the Trustee presented the Eighth Report at a Status Conference before the Court. On

3    September 12, 2024, the Trustee filed the “Chapter 11 Trustee’s Ninth Status Report” (the “Ninth

4    Report”), and, on September 13, 2024, the Trustee presented the Ninth Report at a Status Conference

5    before the Court. Additional information about the timeline of events in this Case and the Debtor’s

6    historical business operations can be found in these previous reports.

7           B.       Update on Ledger Reconciliation and Release of End User Funds

8           The schedules below summarize the partial distributions made by Partner Banks to Synapse-

9    related end users since May 24, 2024. Since the Ninth Report, dated September 12, 2024:
10               •   AMG and Lineage have made new distributions and have distributed the great majority
11                   of the funds they hold for end users. In addition,
12               •   Evolve reports that it is progressing its reconciliation efforts and continues to expect to
13                   make distributions based on such reconciliation within 8 weeks from August 23rd, i.e.,
14                   approximately October 18th.
15          At the time of this Report, Partner Banks are continuing reconciliation efforts and information
16   outreach with the objective of making additional distributions of reconciled funds to end users as soon
17   as possible. Experience to date suggests that a relatively small percentage of end user funds at Partner
18   Bank may be subject to additional delays in distribution due to matters unrelated to reconciliation
19   efforts, such as delays in obtaining current payment instructions for end users and returned payments.
20          Additionally, Evolve and Lineage have voluntarily provided their own reports with additional

21   details of their reconciliation efforts and distributions to date, which are attached to this Report as

22   Exhibit A and Exhibit B, respectively. The inclusion of these reports as appendices is not an

23   endorsement by the Trustee of positions taken by any particular Partner Bank and is solely for

24   informational purposes.

25                   1.     DDA Reconciliation and Distributions

26          Since the Ninth Report, no additional DDA funds have been distributed, as detailed below.

27   Lineage has reported the total amount of DDA funds held and distributed since May 24, 2024 based

28   on additional reconciliation efforts. As reported previously, of the $6,401,769 aggregate DDA Funds


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1    held by Evolve and Lineage on the date of the Trustee’s appointment, $5,714,613, or approximately

2    91%, have been distributed to date, with $575,235, or approximately 9%, remaining to be distributed.

3                                          DDA Funds Summary 1
4                           American     AMG National Evolve Bank
                                                                  Lineage Bank              Total Funds
                             Bank           Trust      and Trust
5     Funds Held on
                               N/A             N/A          $6,013,000       $276,849        $6,289,849
      May 24, 2024
6         Funds
     Distributed as of         N/A             N/A          $5,369,000       $198,601        $5,567,601
7
      June 21, 2024
8         Funds
     Distributed as of
9                              N/A             N/A          $5,492,857       $221,756        $5,714,613
      September 26,
           2024
10      Remaining
11       Funds on
                               N/A             N/A           $520,143         $55,092         $575,235
      September 26,
12         2024

13
              Partner Banks have reported that the status and issues related to distributions of DDA funds
14
     remains the same from the Ninth Report, as detailed below.
15
                                     DDA Funds Distributions Progress
16                                                        Total Funds
                                  Funds Held on May                                Percentage of Funds
17                                                     Distributed as of
                                       24, 2024                                        Distributed
                                                      September 26, 2024
18   American Bank                       N/A                  N/A                           N/A
     AMG National Trust                  N/A                  N/A                           N/A
19   Evolve Bank and Trust            $6,013,000           $5,492,857                       91%
20   Lineage Bank                      $276,849             $221,756                        80%
     Total DDA Funds                  $6,289,849           $5,714,613                       91%
21

22                •   Evolve reports that is continues to work to distribute additional DDA funds, but
23                    progress continues to be slow because 4 Fintech Partners have not responded to

24                    outreach for balance verification and payment instructions: Namebase, Trim, Unest and

25                    SeedFi. Evolve reports that it is in communication with Fintech Partners Donut, Grabr

26                    and Homebase to investigate if any DDA funds associated with these platforms are held

27

28
     1
         Partner Banks have reported to the Trustee certain numbers in approximations.
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1                      at Evolve. Evolve is also awaiting payment instructions to reprocess approximately

2                      $900 in returned payments.

3                 •    Lineage has DDA distributions to date of $221,277 to end users, representing 80% of
4                      the DDA funds held at Lineage as of May 24, 2024. The remaining 20%

5                      (approximately $55,000) are not end user funds but rather funds held for the platforms

6                      themselves.

7                 •    Neither American Bank nor AMG holds any DDA funds for Synapse end users.
8              The Trustee is not aware of any reported shortfall between cash held in DDAs at the Partner

9    Banks and the amounts owed to DDA end users as shown on the Synapse trial balances. The Trustee
10   believes that Partner Banks should be able to successfully repay the remaining DDA funds in the near
11   future.
12                     2.          FBO Account Reconciliation and Distributions
13             Since the Ninth Report, an additional $97,810 in FBO funds has been distributed by AMG and
14   an additional $9,825 in FBO funds has been distributed by Lineage. Lineage has also reported updated
15   total FBO funds held and distributed since May 24, 2024 as a result of additional reconciliation efforts.
16   No other FBO funds have been distributed by other Partner Banks, as detailed below. Overall, of the
17   $219,077,467 aggregate FBO Funds held by AMG, American Bank, Evolve and Lineage on the date
18   of the Trustee’s appointment, $165,343,349, or approximately 75%, have been distributed to date,
19   with $53,734,118, or approximately 25%, remaining to be distributed.
20                                               FBO Funds Summary 2
21                     American          AMG National     Evolve Bank    Lineage
                                                                                          Total Funds
                        Bank               Trust           and Trust      Bank
22       Funds Held
23           on
                            $43,339       $110,290,040     $46,926,558 $61,817,530        $219,077,467
          May 24,
24          2024
           Funds
25       Distributed
            as of             $0           $55,000,000         $0           $0            $55,000,000
26
          May 24,
27          2024

28
     2
         Partner Banks have reported to the Trustee certain numbers in approximations.
                                                           4
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1       Funds
     Distributed
2                        $0          $100,769,819       $0            $0           $100,769,819
         as of
     July 2, 2024
3
        Funds
4    Distributed
         as of           $0          $104,025,366       $0            $0           $104,025,366
5      July 16,
         2024
6       Funds
7    Distributed
         as of           $0          $105,026,528       $0            $0           $105,026,528
8      July 31,
         2024
9       Funds
     Distributed
10
         as of           $0          $106,070,956       $0            $0           $106,070,956
11    August 14,
         2024
12      Funds
     Distributed
13       as of           $0          $109,270,681       $0       $49,200,617       $158,471,298
14    August 29,
         2024
15      Funds
     Distributed
16       as of           $0         $109,448,277        $0       $55,787,437        $55,787,437
     September
17     12, 2024
18      Funds
     Distributed
19       as of           $0          $109,546,087       $0       $55,797,262       $165,343,349
     September
20     26, 2024
     Remaining
21
      Funds on
                       $43,339        $743,953      $46,926,558 $6,020,268          $53,734,118
22   September
       26, 2024
23
            Partner Banks have reported the status and issues related to distributions of FBO funds as
24
     detailed below.
25

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1                                 FBO Funds Distributions Progress
                                                       Total Funds
2                              Funds Held on May                                  Percentage of Funds
                                                     Distributed as of
                                    24, 2024                                          Distributed
3                                                  September 12, 2024
     American Bank                   $43,339                 $0                            0%
4    AMG National Trust           $110,290,040         $109,546,087                        99%
     Evolve Bank and Trust         $46,926,558               $0                            0%
5
     Lineage Bank                  $61,817,530          $55,797,262                        90%
6    Total Funds                  $219,049,826         $165,031,397                        75%

7
              •   As of September 26, 2024, American Bank holds approximately $42,339.67 of
8
                  potential commercial end user funds. American Bank has informed the Trustee that it
9
                  is investigating the status of these funds and hopes to work with Partner Banks to verify
10
                  the funds in the near future.
11
              •   As of September 26, 2024, AMG has paid out $109,546,087 (99% of total FBO funds
12
                  held by AMG) for the benefit of over 90,000 end users, either paid directly to end users
13
                  or to custodial banks for user check payments or operating Fintech Partners’ credit to
14
                  end users. Of the total payments, AMG has paid out 100% of balances (~$89.1 million)
15
                  for 12 Fintech Partners and their over 85,000 users and has made partial payments
16
                  (~$20.4 million) for an additional 10 Fintech Partners and their over 5,000 users. AMG
17
                  has $743,953 in FBO funds left to distribute on behalf of 10 Fintech Partners and their
18
                  over 9,600 end users (includes Fintech Partners where only partial payments were made
19
                  and where issues with distributions exist). AMG also is working on reprocessing return
20
                  payments of approximately $89,000. AMG will continue to work with fintech
21
                  platforms to process distributions and is awaiting payment instructions for all
22
                  remaining balances. AMG holds funds of $1.00 or less without current payment
23
                  information for approximately 5,200 (53%) remaining end users. End users are
24
                  encouraged to make sure their fintech platform provider has current payment
25
                  information regardless of the size of the balance. Yotta and MainVest end users who
26
                  have received emails or phone calls from AMG are encouraged to contact AMG
27
                  promptly. AMG also holds approximately $72,000 for unidentified Synapse Brokerage
28
                  FBO customers and $150,845.19 in unallocated interest associated with Synapse

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1                    Brokerage sweep network deposits, which was transferred into AMG FBO Accounts

2                    on June 7, 2024.

3                •   As of September 26, Lineage has paid out $55,797,262 for the benefit of 6,006 end
4                    users, which represents 90% of the total FBO funds held at Lineage on May 24, 2024.

5                    For the remaining funds, Lineage is working diligently to complete reconciliation and

6                    obtain payment instructions to make distributions.

7                •   Evolve reports that it is continuing its reconciliation efforts before it will be able to
8                    make distributions of FBO funds. Evolve estimates they will be able to begin making

9                    distributions of FBO funds 8 weeks after August 23, 2024 (the date its data collection
10                   efforts were complete), i.e., approximately October 18th. Since the last report, the
11                   Trustee and her Advisors are continuing to work diligently with Evolve and its
12                   consultants, including Ankura, to provide data and other support in order to accelerate
13                   Evolve’s data collection and reconciliation.
14               •   There is no update to the aggregate $65 million to $95 million estimated shortfall since
15                   the Ninth Status Report.
16          C.       Further Reconciliation Efforts

17                   1.     Analysis of Synapse Data Provided to Partner Banks

18          The Trustee and her advisors have collected and made available to the Partner Banks all

19   Synapse’s ledger records, data and systems on a confidential and read-only basis to facilitate

20   reconciliation to the Partner Banks. The Trustee and her advisors are working continuously and closely

21   with the Partner Banks to facilitate additional data sharing and navigating Synapse systems.

22          Since the Ninth Report, the Trustee and her advisors have extensively investigated and

23   evaluated the Synapse data and services on the Amazon Web Service (AWS) platform and are working

24   with parties in interest to preserve the level of services required to complete the reconciliation process

25   while concurrently eliminating unnecessary AWS services to reduce the accumulation of

26   administrative expense.

27                   2.     Communications among Partner Banks and with End Users and Fintech

28                          Platforms


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1           The Trustee is continuing to facilitate communication among the Partner Banks and Fintech

2    Partners and other parties in interest to reconcile individual end user accounts, obtain payment

3    instructions, establish workarounds and resolve other reconciliation and distribution questions.

4           D.      Estate Expenses

5           The Trustee and her advisors are continuing to identify and implement administrative operating

6    cost reductions while preserving data key to reconciliation efforts and value for the estate in light of a

7    potential asset sale. The Trustee and her advisors continue to dedicate substantial efforts towards

8    developing a plan to descale and either have obligations to such service providers assumed in

9    connection with a sale of Debtor assets or terminate the systems, in either case seeking to minimize
10   disruption to the reconciliation and distributions process.
11          E.      Meetings with Parties in Interest

12          Since September 13, 2024, the Trustee and her advisors have had follow-up meetings and

13   communications with known parties in interest as well as initial meetings and communications with

14   additional constituents.

15                  1.      Bank Partners

16          The Trustee and her advisors continue to have open lines of communication with the Partner

17   Banks and their respective counsel, individually and collectively. The purpose of these

18   communications has been to discuss progress and issues that have arisen in the reconciliation process

19   and to identify Synapse systems that are necessary to conclude the reconciliation process so that non-

20   essential systems can be scaled back or terminated to reduce expenses.

21                  2.      Debtor’s Former Officers, Key Employees and Contractors

22          The Trustee and her advisors have continued to have an open line of communication with

23   former Synapse officers regarding historical operations of Synapse and its relationship with Partner

24   Banks, technical matters relating to the operations of the Synapse system.

25                  3.      End Users

26          The Trustee continues to have meetings and communications with affected end users, the

27   purpose of which has been to connect end users with Partner Banks and to respond to inquiries about

28   reconciliation progress.


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1                   4.      Vendors and Suppliers

2           The Trustee continues to receive and catalogue in-bound communications from creditors with

3    unpaid invoices. The Trustee’s advisors are continuing to communicate with certain key vendors to

4    ensure records preservation and plan efficient data transition. The Trustee and her advisors intend to

5    continue to work constructively with vendors to reduce expenses of services with the goal of having a

6    purchaser assume historical and go-forward obligations to key vendors or otherwise wind-down

7    services. The Trustee appreciates their cooperation to date and their continued cooperation until all the

8    Debtor’s records and information can be properly retained.

9           F.      Asset Sale
10          The Trustee plans to file a Sale Motion and Bidding Procedures Motion by September 30, 2024

11   to formalize a sale process to receive the highest and best bid for some or all assets of the Debtor’s

12   estate. Over the past months, the Trustee has received inbound inquiries to purchase assets of the

13   Debtor’s estate. However, the Trustee and her advisors determined that it would be unduly

14   burdensome and risky to effectuate a sale and transfer control of key Synapse systems while the

15   Trustee and her advisors have been focused on facilitating Partner Banks’ reconciliation efforts, as

16   well as needing to gain access to the many password protected data and Synapse operating system

17   files that a buyer would reasonably require to perform due diligence. Notwithstanding, the Trustee

18   and her Advisors have been in communication with parties that have expressed preliminary interest in

19   anticipation of sale process. With an end to the need for the Trustee’s facilitation of the reconciliation

20   process in sight and subject to the Court’s Order, B. Riley will lead an expedited sale process of

21   Synapse assets with the objective of maximizing value for the Estate.

22          G.      Conversion

23                  The Trustee believes this Case should remain in chapter 11 for the time being and, as

24   of the time of this Report, is not seeking conversion to chapter 7.

25                                                      II.

26                               CONCLUSION AND RECOMMENDATION

27          The Trustee continues to facilitate the Partner Banks’ additional efforts with regard to

28   reconciliation, settlement payments among banks and identifying the sources of any shortfalls. The


                                                         9
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1    Trustee and her advisors are working with Partner Banks and key vendors to collect and preserve

2    Synapse records across platforms used by Synapse. These efforts will facilitate further reconciliation.

3    B. Riley is preparing to execute the sale process strategy and information materials to facilitate a

4    potential asset sale.

5            The Trustee will present the foregoing at the Status Conference scheduled for September 13,

6    2024, at 10:00 a.m. Pacific Time. Taking into account the estimated reconciliation timelines and

7    subject to the preference of the Court, the Trustee respectfully proposes to hold the next Status

8    Conference shortly after Evolve’s anticipated completion of reconciliation, early in the week of

9    October 21, 2024.
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2
     DATED: September 26, 2024                  JELENA MCWILLIAMS
3                                               CHAPTER 11 TRUSTEE
4

5                                                    /S/ Jelena McWilliams
                                                By: ___________________________________
6                                                   Jelena McWilliams
                                                    Chapter 11 Trustee
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     Evolve Bank & Trust: Update on Ledger Reconciliation and Release of End User Funds

Evolve Bank & Trust (“Evolve” or “Bank”) is providing this update to the Trustee and parties in interest
documenting the Bank’s progress in performing a reconciliation that, once completed, will enable
Evolve to distribute end user funds in its possession in a safe and sound manner, and in compliance
with applicable law.

The Bank continues to engage Ankura Consulting Group (“Ankura”) to perform a reconciliation that
will inform the Bank’s distribution of approximately $46 million in funds belonging to end users of
Synapse Brokerage LLC (“Synapse Brokerage”). Synapse Brokerage is a subsidiary of the bankrupt
entity Synapse Financial Technologies, Inc. (“Synapse”). As noted in prior updates, the Synapse
Brokerage end user funds held by Evolve are related to the Bank’s payment processing activities for
Synapse Brokerage end users following their fintech platforms’ migration from Evolve to Synapse
Brokerage in Fall 2023. The Bank additionally holds approximately $35.3 million in reserve funds that
it will distribute to end users if the reconciliation determines that such distribution is appropriate.

The reconciliation, which has been underway for weeks and is on track for completion by October 18,
2024, is necessary because Synapse failed to satisfy its contractual obligation to maintain, and to
provide to Evolve, a complete and accurate ledger. As previously disclosed to the Trustee, the Bank
has identified significant irregularities in Synapse’s ledgers that indicate the account balances set
forth therein are materially inaccurate, and cannot be used as the basis for distributing funds to end
users. The reconciliation that Ankura is performing will determine (1) which Synapse Brokerage end
users have funds at Evolve, and (2) for those Synapse Brokerage end users with funds at Evolve, how
much is owed to each end user.

In parallel with Ankura’s reconciliation work, Evolve is preparing to make the appropriate distributions
as quickly as possible following the completion of the reconciliation work. To that end, the Bank is
currently in the process of engaging a third-party administrator to assist with implementing Evolve’s
distribution plan. Key responsibilities of the administrator will include validating end users’ identity
and account information so funds are distributed as efficiently and accurately as possible. Evolve is
committed to clear and proactive communication with Synapse Brokerage end users and fintech
partners throughout the distribution process.

Evolve appreciates the patience of all impacted parties as the reconciliation proceeds, and will
continue to provide updates on the Bank’s website at https://www.getevolved.com/synapse-
bankruptcy-update/.
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                                            Lineage Bank
                                            Status Update
                                          September 26, 2024

       The Synapse-linked FBO funds held at Lineage Bank (“Lineage”) are the subject of

Lineage’s ongoing reconciliation efforts. Many end users who were associated with the Synapse

Financial Technologies (“Synapse”) platform are still unable to access their funds due to the

sudden financial collapse of Synapse, and Lineage acknowledges the frustration and hardship

this situation has created for many. Lineage remains committed to resolving these issues as

swiftly and accurately as possible and submits this Status Report to update all parties on its

Synapse-related reconciliation efforts.

                                             Background

       Lineage terminated its contract with Synapse in March of 2024, and was winding down

its relationship when Synapse filed bankruptcy. Lineage operated primarily as a third-party

payment processor for Synapse. Consequently, Lineage did not have direct relationships or

account agreements with the end-users of Synapse’s fintech platform customers. Simply put,

Lineage originated ACH and wire transfers based on money movement instructions it received

from Synapse. Lineage has reconciled the cash that it processed at the direction of Synapse

against the Federal Reserve’s records. Lineage’s cash balance of FBO funds reconciles with the

Federal Reserve’s records. However, the final trial balance that Synapse generated during its

final hours attributes a different purported FBO account balance to Lineage than the actual cash

balance at Lineage that has been verified against the Federal Reserve’s records and contains

other deficiencies and contradictions.

       Due to the issues with Synapse’s final trial balance, Lineage has been forced to undertake

to reconcile end user accounts and calculate end user balances based on the information that has

been made available to it by the Trustee through the bankruptcy process. Lineage engaged, at its
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own expense, a former Synapse engineer familiar with Synapse’s systems to access the Synapse

accounting databases to assist with recovering, preserving and analyzing the Synapse data. Since

Lineage first obtained access to Synapse’s critical accounting databases, it has worked with great

effort to collect and preserve Synapse’s available data for the benefit of all affected parties.

Unfortunately, this process has been complicated and time-consuming given the significant

attention to detail required in these unprecedented circumstances.

                             Update on Lineage’s Reconciliation Efforts 1

        Despite multiple and substantial complications, some of which have been outlined in

previous filings, Lineage continues to make material progress in its reconciliation efforts. Given

the magnitude and complexity of the tedious task of analyzing the millions of transactions

required for the reconciliation project, there remains substantial work to be done.

        Lineage has recently distributed approximately $23,155 in Lineage DDA funds to end

users, bringing the total DDA funds distributed by Lineage to date to $221,757, representing

roughly 80% of the DDA funds that were held at the bank when the Trustee was appointed. The

remaining DDA funds at Lineage belong to a platform and are not end user funds. Lineage has

also recently distributed approximately $9,825 of Synapse-linked FBO funds to end users since

the last status hearing on September 13, 2024. Lineage’s recent distributions bring the total

distributions of FBO funds by Lineage to Synapse-linked end users to approximately

$55,797,262, representing roughly 90% of the Synapse-linked FBO funds that were held at the

bank when the Trustee was appointed. Lineage will continue working to restore the remaining

Synapse-linked funds held at Lineage to their rightful owners as soon as possible.




1
 The figures reported herein exclude any distributed funds that may have been returned and which are in the process
of being reissued.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Cravath, Swaine & Moore LLP, 2 Manhattan West, 375 Ninth Avenue, New York, NY 10001

A true and correct copy of the foregoing document entitled (specify): __________________________________________
CHAPTER 11 TRUSTEE’S TENTH STATUS REPORT                                     _                                         _
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/26/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Raymond O Aghaian raghaian@kilpatricktownsend.com, ndelman@kilpatricktownsend.com;moroberts@ktslaw.com
Ron Bender rb@lnbyg.com
David A Berkley david.berkley@wbd-us.com, mary.koo@wbd-us.com;Sul.Lee@wbd-us.com
J Scott Bovitz bovitz@bovitz-spitzer.com
Rudy J Cerone rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
Sara Chenetz schenetz@perkinscoie.com,
docketLA@perkinscoie.com;cmallahi@perkinscoie.com;jkulow@perkinscoie.com;chenetz-sara-perkins-coie-
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Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/26/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

None.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 9/26/2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

None.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  9/26/2024                         Robert N. Greenfield                                         /s/ Robert N. Greenfield
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
